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                      IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, CENTRAL DISTRICT


 VIA GROUP PARTNERS,                            OPPOSITION TO MOTION TO DISMISS

      Plaintiffs,                                      Case No. 21-cv-00694-TC

                                                         Judge Tena Campbell
 v.


 BARANOWSKI et al.,

      Defendants.




       Plaintiff Via Group Partners, LLC, hereby opposes Defendants’ Motion to

Dismiss for Lack of Personal Jurisdiction. See Dkt. No. 8.

                                      Introduction

       Utah has specific personal jurisdiction over the defendants for two primary

reasons. First, the business relationship between the parties was in Utah. That is, the

defendants worked for Plaintiff Via Group, which is a company with its principal place

of business located in Salt Lake City, Utah. Second, this case is all about the harm direct



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at that Utah-based company. When the Partners left Plaintiff, they solicited its

customers—and in doing so, they interfered with Via Group’s contractual relationships,

and they violated fiduciary duties owed to Via Group.

       Defendants ignore these facts in their motion. Instead, they focus on facts that

relate to general personal jurisdiction. It’s true that the defendants are not residents of

Utah; indeed, Plaintiff concedes that Utah does not have general personal jurisdiction

over them. But, again, a defendants worked for a Utah company, and the contacts

arising from that relationship with Via Group created a sufficient nexus with Utah to

establish specific personal jurisdiction. Defendants’ contracts (including Utah choice of

law clauses) confirm that, as do their communications with Via Group’s owners, the

Raymonds, who live in Utah.

       Having established minimum contacts, defendants have the burden to establish

that “traditional notions of fair play and justice” would be offended if this Court

exercises personal jurisdiction. They cannot meet that burden. In short, plaintiff’s and

the forum state’s interests outweigh any countervailing interest.

       Arguing unfairness, the defendants argue that plaintiff should bring its claims

through separate lawsuits in Oregon, Illinois, and Texas. That’s an untenable request.

At a minimum, it would lead to the risk of inconsistent rulings in foreign jurisdictions

concerning Utah law. This state’s interest in allowing Utah residents to prosecute Utah

state claims against non-residents outweighs any burden on the defendants.

       Utah maintains specific personal jurisdiction over the defendants, and the Court

should deny the motion.


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                                    Statement of Facts

       Because the Court must accept as true all of the factual allegations contained in

the complaint, Via Group incorporates and adopts by reference the allegations in this

action as if fully set forth herein. See First Amended Complaint, Dkt. No. 7.

                                         Argument

       “The Due Process Clause of the Fourteenth Amendment ‘constrains a State's

authority to bind a nonresident defendant to a judgment of its courts.’” XMission, L.C. v.

Fluent LLC, 955 F.3d 833, 839 (10th Cir. 2020) (quoting Walden v. Fiore, 571 U.S. 277, 283

(2014)). A court may exercise personal jurisdiction over a non-resident defendant so

long as the non-resident defendant has such minimum contacts with the forum state

“that the maintenance of the suit does not offend traditional notions of fair play and

substantial justice.” International Shoe Co. v. Washington, 326 U.S. 310, 316 (1945).

       It is the plaintiff’s burden to establish that personal jurisdiction exists. Shrader v.

Biddinger, 633 F.3d 1235, 1239 (10th Cir. 2011). “Where a district court considers a pre-

trial motion to dismiss for lack of personal jurisdiction without conducting an

evidentiary hearing, the plaintiff need only make a prima facie showing of personal

jurisdiction to defeat the motion.” AST Sports Sci., Inc. v. CLF Distribution Ltd., 514 F.3d

1054, 1056–57 (10th Cir. 2008). Furthermore, all factual disputes must be resolved in

favor of the plaintiff when determining whether a prima facie showing of jurisdiction

has been made. Id. at 1057.

       The test for specific jurisdiction is a two-step inquiry. Old Republic Insurance Co.

v. Continental Motors, Inc., 877 F.3d 895, 904 (10th Cir. 2017). First, it must be


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determined that the defendant has sufficient minimum contacts with the forum state.

Id. A showing of minimum contacts requires that “(i) that the defendant must have

purposefully directed its activities at residents of the forum state, and (ii) that the

plaintiff’s injuries must arise out of [the] defendant’s forum-related activities.” Old

Republic Ins., 877 F.3d at 904 (simplified).

       Second, if minimum contacts exist, it is the defendant’s burden to present a

“compelling case that the presence of some other consideration would render

jurisdiction unreasonable.” Id. (simplified) (quoting Burger King Corp. v. Rudzewicz, 471

U.S. 462, 476–77). This second prong is meant to ensure that the exercise of jurisdiction

over a defendant is consistent with the traditional notions of “fair play and substantial

justice.” Burger King, 471 U.S. at 477. Tenth Circuit courts apply five factors in this

inquiry:

       (1) the burden on the defendant, (2) the forum state's interest in resolving
       the dispute, (3) the plaintiff's interest in receiving convenient and effective
       relief, (4) the interstate judicial system's interest in obtaining the most
       efficient resolution of controversies, and (5) the shared interest of the
       several states in furthering fundamental substantive social policies.

Hood v. Am. Auto Care, LLC, 21 F.4th 1216, 1227 (10th Cir. 2021) (quoting Compañía de

Inversiones Mercantiles, S.A. v. Grupo Cementos de Chihuahua S.A.B. de C.V., 970 F.3d

1269, 1289 (10th Cir. 2020)). “Instances where an otherwise valid exercise of personal

jurisdiction would be constitutionally unfair are ‘rare.’” Id.

       The defendants have purposefully availed themselves to jurisdiction in this

forum and no compelling reasons exist that would make the exercise of jurisdiction

over them unreasonable.


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 I.    This Court has specific personal jurisdiction over Defendants because (A)
       Defendants purposefully directed their activities at Utah residents, and (B)
       Via Group’s injuries arise out of Defendants’ activities directed at the forum.
       Specific jurisdiction is proper if (1) the out-of-state defendant ‘purposefully

directed’ its activities at residents of the forum State, and (2) the plaintiff's alleged

injuries ‘arise out of or relate to those activities.’” XMission, L.C. v. Fluent LLC, 955 F.3d

833, 840 (10th Cir. 2020) (quoting Burger King, 471 U.S. at 472).

       A. The Amended Complaint establishes that Defendants have purposefully
          directed their activities at Utah residents.
       Defendants maintained intentional and continuous contacts with Utah from

September 2020 until August 2021. See Dkt. No. 7, ¶¶ 27, 56, 69. During that time,

Baranowski, Clark, and Lee each worked with Via Group under contract. Id. As agents

of a Utah Limited Liability Company, they were necessarily involved in commerce in

the State of Utah. All of Defendants’ Via Group activities were made on behalf of a Utah

business.

       Courts in the Tenth Circuit, including this Court, have repeatedly concluded that

specific jurisdiction exists when out of state employee (defendants) have maintained

contact with their employer (plaintiff) that resides in the forum state. See, e.g., Dyno

Nobel, Inc. v. Johnson, No. 2:20-CV-00840, 2021 WL 1647861, at *4 (D. Utah Apr. 27, 2021)

(discussing Equifax Servs., Inc. v. Hitz, 905 F.2d 1355, 1359 (10th Cir. 1990), and Marcus

Food Co. v. DiPanfilo, 671 F.3d 1159, 1166 (10th Cir. 2011)).

       Similar to Dyno Nobel, Marcus Food, and Equifax, the individual defendants in

this case formed a deliberate and continuous relationship with the forum state. They

maintained interstate contracts with a Utah company in multiple ways, such as:



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   •   Clark was an owner of Via Group under the Second Amended Operating

       Agreement. Dkt. No. 7, ¶¶ 20, 40. After he was hired, he entered into

       employment contracts on Via Group’s behalf. Dkt. No 7, Ex. B. He contracted

       with customers on Via Group’s behalf. Dkt. No. 7, ¶¶ 41, 97.

   •   Baranowski was a member of Via Group under the Second Amended Operating

       Agreement. Dkt. No. 7, ¶¶ 160, 169. After she joined Via Group, she entered into

       employment contracts on Via Group’s behalf. Dkt. No 7, Ex. C. She also

       contracted with customers on Via Group’s behalf. Dkt. No. 7, ¶¶ 97, 125.

   •   Lee entered into a partnership agreement with Via Group in which he received

       stock options and revenue sharing. Dkt. No. 7, Ex. C.

       Pursuant to their contractual relationships with Via Group, they communicated

continuously with the Raymonds, who they knew were Utah residents. Dkt. No. 7, ¶¶

29–37, 63.

       Although the contractual/ownership relationships satisfy the “minimum

contacts” inquiry, there’s more. The contents of the interstate contracts further

illustrate purposeful availment to the forum. First, Baranowski’s partnership

agreement establishes her and Clark’s connection to Utah. The choice of law is Utah.

“In short, these [choice of law] clauses create a rebuttable presumption that the trial

court has personal jurisdiction over the matter.” Jenkins v. Prime Ins. Co., No. 2:21-CV-

00130-DAK, 2021 WL 3726620, at *9 (D. Utah Aug. 23, 2021) (simplified) (quotations




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omitted). As indicated on the signature blocks, Clark and Baranowski understood that

Utah law governed the relationship.

       Second, Baranowski’s contacts with Utah are also established through her

confidentiality agreement. It chooses Utah for both law and venue. Moreover, the

contract clearly states that Via Group’s place of business is Salt Lake City, Utah.

       Third, Defendant Lee’s partnership agreement identifies Baranowski as

“Managing Partner and Chief Human Resources Officer” of Via Group. Both Lee and

Baranowski were transacting with and on behalf of a Utah company. Although not as

clear as the other two agreements, the fact remains that the parties were doing

business in Utah, regardless of their residence.

       B. The Amended Complaint establishes that Via Group’s injuries arise out of
          the Defendants’ contacts with Utah.


       The next step is deciding whether the plaintiffs’ injuries “arise out of”

defendants contacts with the forum state. They do in this case.

       The interstate contracts discussed above are the grounds for the breaches of

contract claims alleged in causes of action one through three. Specifically,

Baranowski’s partnership agreement and nondisclosure agreement, Lee’s partnership

agreement, and the operating agreement. Via Group was damaged when defendants

violated these contracts by, among other things, soliciting employees and customers

that were working with Via Group.

       Via Group’s injuries related to their breach of fiduciary duty claims (four

through seven) arise from defendants’ legal relationships under Utah common law and


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statute. For example, the defendants owed duties of loyalty to Via Group. When

defendants started planning to leave and compete against Via Group, they were still

working for Via Group. Defendants’ competition was detrimental to Via Group, in

Utah.

        Similarly, as to claim eight, defendants misappropriated Via Group’s trade

secrets when they were working with Via Group. They gained access to those trade

secrets through their contacts with Utah, having contracted with a Utah company.

        Via Group’s fraud and tortious interference claim relate to intentional

misrepresentations to Utah residents—the Raymonds.

 II.    Defendants cannot meet their burden to establish that exercising personal
        jurisdiction over them would offend traditional notions of fair play and
        substantial justice.
        When a defendant “purposefully avails itself of the privilege of conducting

activities within the forum State, thus invoking the benefits and protections of its

laws,” courts will generally conclude that due process is satisfied. Hanson v. Denckla,

357 U.S. 235, 253 (1958). Defendants have a challenging burden to overcome a

threshold showing of minimum contacts. They must convince the court that bringing

them to court in the forum state would offend traditional notions of fair play and

substantial justice.

        Taking each relevant factor in turn, most of them favor Via Group and none of

them support dismissal.

        Burden on the Defendants. Defendants contend that it would burdensome to

litigate in Utah. They provide no specific information to support that position. Instead,



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they rely on the same burden that exists for every defendant in a diversity jurisdiction

case—they reside in another state. That is enough to remove to federal court, but it’s

not a meaningful burden for the purposes of fair play and substantial justice.

       The burden on defendants is slight compared to any alternative where Via

Group would be required to vindicate its rights in other forums that have no apparent

connection with this lawsuit other than defendants’ places of residence. Proceeding in

this forum is the least burdensome option, and therefore this factor weighs against

dismissal.

       Utah’s interest in resolving the dispute. Utah holds important interests in this

dispute. The claims relate to harms suffered by a Utah organization, under Utah

common law and statute. At least two contracts contain a Utah choice of law provision,

and claims five and eight are brought under Utah Code §§ 48-3a-409 and 13-24-1–9,

respectively. These claims are matters of Utah public policy, meant to be decided by a

Utah finder of fact. Utah’s interest in this case militates against dismissal.

       Via Group’s interest in receiving convenient and effective relief. Defendants

seek to have Via Group file separate lawsuits in their home forums of Illinois, Texas,

Oregon, and Delaware. That would be nonsensical and unduly burdensome on Via

Group, who would be required to hire counsel in four different jurisdictions. The only

way for Via Group to receive convenient and effective relief is through this proceeding

in this venue. Again, this factor favors Via Group.

       The interstate judicial system’s interest in efficient resolution. Similarly, the

court system’s interest favors Via Group’s position. Defendants appear to expect this


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case to be refiled in multiple other jurisdictions. That would result in multiple court’s

presiding over these claims, which would lead to a risk of inconsistent rulings on issues

of Utah law. Fracturing this case would cause unreasonable inefficiencies on Via Group

and the court system.

       Utah’s interest in furthering social policies. The final factor is neutral.

   None of the factors favors dismissal. Accordingly, “this is not a ‘rare’ case with

special considerations that compel a determination against personal jurisdiction. This

is rather standard fare: a resident of the forum State injured in that State by conduct

emanating from another State brings suit in his home State.” Hood, 21 F.4th at 1228.

   For these reasons, specific jurisdiction is established against the defendants.


                                                        /s/ Andrew Deiss
                                                        Andrew Deiss
                                                        David Ferguson
                                                        Deiss Law, P.C.

                                                        3/21/2022




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                 EXHIBIT A




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                      IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, CENTRAL DISTRICT


 VIA GROUP PARTNERS,                                   DECLARATION OF ERIK
                                                            RAYMOND
       Plaintiffs,
                                                         Case No. 21-cv-00694-TC

 v.                                                        Judge Tena Campbell


 BARANOWSKI et al.,

       Defendants.



I, Erik Raymond, declare as follows:

      1. I am an individual residing in the State of Utah and over the age of eighteen.

      2. I am competent to make a declaration in this matter.

      3. I serve as a Founding Partner of Via Group Partners (“Via Group”), a Utah-based
         LLC.

      4. Via Group was founded in Utah in 2019 has been operating in the state since that
         time.

      5. Among other things, Via Group provides leadership advisory services, which
         include but aren’t limited to retained executive search.


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 6. Via Group primarily identifies clients and job candidates through its longstanding
    industry reputation and relationships, established largely by myself and my
    cofounder, [Barry Raymond], from contacts made during our previous
    professional experience and as we built Via Group.

 7. While Via Group is a Utah-based and registered company, the client base from
    which it draws is geographically unrestricted.

 8. This is possible because the nature of Via Group’s work is largely compatible with
    remote forms of execution, such as email notes and phone calls.

 9. Consequently, many of our commissioned-based “Partners” also operate remotely.

        a. Partners at Via Group operate on a level similar to sales representatives in
           other companies.

 10. In August 2020, I approved the hiring of Christine Baranowski as a Via Group
     Partner.

 11. I was aware that her place of residence was outside of Utah

 12. As a condition of Ms. Baranowski's employment with Via Group Partners, she
     was asked to sign a Confidentiality and Non-Disclosure Agreement specifying that
     any litigation arising from a breach in this agreement must take place in Utah.

 13. In May 2021 Stephen Lee was hired as a Partner at Via Group Partners.

 14. At the time of Mr. Lee’s hiring, I was aware that his place of residence was
     outside of Utah.

 15. As a condition of Mr. Lee’s employment with Group Partner, he was asked to sign
     a Confidentiality and Non-Disclosure Agreement specifying that any litigation
     arising from a breach in this agreement must take place in Utah.

 16. In September 2020, Frank Clark was brought into Via Group as a Founding
     Partner.

 17. At that time, I was aware that his place of residence was not in Utah.

 18. Mr. Clark's Confidentiality and Non-Disclosure Agreement specifies that any
     litigation arising from a breach in this agreement must take place in Utah.

 19. Throughout their employment at Via Group, I maintained close contact with all
     remote Partners.

 20. This included Ms. Baranowski.

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 21. I also maintained close contact with my fellow Founding Partner, Mr. Clark after
     the time he became a Founding Partner.

 22. On average, either Barry or I spoke to remote workers such Mr. Clark and Ms.
     Baranowski 3-5 times a day via telephone and sent several communications on a
     typical daily basis via digital services such as email, Microsoft Teams, or text
     messaging.

 23. I underwent this communication primarily from the company’s office in Salt Lake
     City, Utah.

 24. Barry Raymond also communicated with employees primarily through the same
     office.

 25. The employees were aware that Utah was my place of residence and business
     operation, as well as that of Barry Raymond.

 26. In 2021, Mr. Clark was terminated from Via Group misrepresenting information to
     Via Group’s Advisory Board among other reasons.

 27. Soon thereafter, Ms. Baranowski and Mr. Lee left Via Group as well.

 28. Adverse to the contracts they had signed to work for Via Group, these former
     employees engaged in competitive behaviors by immediately starting a rival
     executive search business together called Encore.

 29. They exploited multiple client relationships that had been initiated and cultivated
     during their time at Via Group. They also actively recruited sitting Board of
     Advisor members and successfully hired two of them (also a breach of contract).

 30. Specifically, one of Via Group’s most significant clients – American Express –
     ended their relationships with Via Group after the exit of Mr. Clark, Ms.
     Baranowski, and Mr. Lee.

 31. American Express articulated their intention to resume services while terminating
     their relationship with Via Group.

 32. It appears that American Express has moved to work with Mr. Clark, Ms.
     Baranowski, and Mr. Lee at their new competitive business, Encore.

 33. In engaging with former clients of Via Group, Mr. Clark and Ms. Baranowski
     exploited trade secrets, intellectual property, and goodwill belonging to Via
     Group.




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   34. The loss of these contracts resulted in significant financial and reputational harm
       to Via Group.



   I, Erik Raymond, declare under penalty of perjury of the law of the State of Utah that

the foregoing Declaration is true and correct to the best of my knowledge, information,

and belief.




              DATED: March 21, 2022.



                                                               /s/Erik Raymond
                                                               Erik Raymond




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